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                    UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF RHODE ISLAND



Susan D. Levin

                             v.                 1:21-cv-38-MSM

Bank of America



                                     JUDGMENT



       This action came to be heard before the Court and a decision has
 been rendered. Upon consideration whereof, it is now hereby ordered,
 adjudged and decreed as follows:


       Judgment is hereby entered pursuant to this Court’s Order of
 January 28, 2022.


       It is so ordered.




       January 28, 2022                   By the Court:


                                          /s/ Hanorah Tyer-Witek
                                          Clerk of Court
